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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                                Case No. 0:19-cv-62176-DIMITROULEAS/SNOW

    NorthStar Moving Holding Company, Inc.,
    d.b.a. NorthStar Moving and NorthStar
    Movers,

           Plaintiff,

    v.

    King David Van Lines, Ohad Guzi, and
    Itzhak Bokobza,

           Defendants.
                                                 /

                           JUDGMENT AND PERMANENT INJUNCTION
                              AGAINST DEFENDANT OHAD GUZI

          THIS CAUSE is before the Court upon the Court’s Findings of Fact and Conclusions of

   Law, entered today by separate Order. Pursuant to Federal Rule of Civil Procedure 58(a), the

   Court enters this separate final judgment.

          Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

          1.      Judgment is entered in favor of Plaintiff NorthStar Moving Holding Company,

   Inc., d.b.a. NorthStar Moving and NorthStar Movers (“Plaintiff”) and against Defendant Ohad

   Guzi (“Guzi”) on the claims alleged against him in Plaintiff’s Second Amended Complaint [DE

   43]:

                  a. Count I - Violation of Anticybersquatting Consumer Protection Act, 15 U.S.C.

                        § 1125(d);

                  b. Count VI – Federal Trademark Infringement [Lanham Act, 15 U.S.C. §

                        1114(1)];

                  c. Count VIII – Contributory Trademark Infringement;
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                     d. Count X – Trademark Infringement under Florida Registration and Protection

                         of Trademarks Act (FRPTA) [Section 495.131, Florida Statutes];

                     e. Count XII – Trademark Infringement under Florida Common Law;

                     f. Count XIV – Unfair Competition under Florida Deceptive and Unfair Trade

                         Practices Act (FDUTPA) [Sections 501.201 to 501.213, Florida Statutes]; and

                     g. Count XVI – Unfair Competition under Florida common law.

            2.       Judgment is hereby entered in favor of Plaintiff and against Defendant Guzi as to

   Count I 1 for violation of the Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d)

   in the amount of $100,000.00.

   3.       Judgment is hereby entered in favor of Plaintiff and against Defendant Guzi as to Counts

   IV and VI 2 for federal trademark infringement, 15 U.S.C. § 1114(1) in the amount of

   $13,059,727.60.

            4.       Plaintiff is entitled to its reasonable attorney’s fees and costs as to its claims for

   trademark infringement, unfair competition, and violation of the Anticybersquatting Consumer

   Protection Act, 15 U.S.C. § 1125(d). Plaintiff shall be awarded its reasonable attorneys’ fees and

   costs upon timely filing and service of a motion for attorneys’ fees and/or non-taxable expenses

   and costs pursuant to Local Rule 7.3. Such motion shall be referred to the Magistrate Judge.

            5.       Plaintiff is awarded pre-judgment interest on all amounts claimed as permitted by

   law.




   1
     Plaintiff has elected to recover statutory damages against Defendant Guzi with respect to Count I. See 15 U.S.C. §
   1117(d).
   2
     Plaintiff has elected to recover profits against Defendant Guzi with respect to Counts IV and VI for federal
   trademark infringement, 15 U.S.C. § 1114(1). See 15 U.S.C. § 1117(a). The Court exercised its discretion to
   enhance the award of profits to Plaintiff three times the amount of Defendant KDVL’s gross sales for the infringing
   time period. See Court’s Findings of Fact and Conclusions of Law.


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          6.     Plaintiff is entitled to injunctive relief preventing Defendant Guzi from

   cybersquatting, trademark infringement, and unfair competition involving Plaintiff’s trademarks.

          7.     Defendant Guzi and all persons in active concert and participation with Defendant

   Guzi are hereby permanently restrained and enjoined from:

                 a. advertising, promoting, marketing, selling or offering to sell any infringing

                     services using NORTHSTAR MOVERS or any mark confusingly similar to

                     any of the Plaintiffs Marks identified in Paragraphs 25, 30, 35, 36 of Plaintiffs

                     Second Amended Complaint [DE 43], including NORTHSTAR MOVING

                     and NORTHSTAR (the "Plaintiffs Marks");

                 b. registering or applying to register any mark, domain name, trade dress, social

                     media profile/account, or other intellectual property of any kind that is

                     confusingly similar to or likely to cause confusion with any of Plaintiff’s

                     Marks;

                 c. using any logo, and/or layout which may be calculated to falsely advertise any

                     services or products as being sponsored by, authorized by, endorsed by, or in

                     any way associated with Plaintiff;

                 d. falsely representing any entity, services, or products as being connected with

                     Plaintiff, through sponsorship or association;

                 e. engaging in any act which is likely to falsely cause members of the trade

                     and/or of the purchasing public to believe any goods or services are in any

                     way endorsed by, approved by, and/or associated with Plaintiff;




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                  f. using any reproduction, counterfeit, copy, or colorable imitation of the

                      Plaintiff’s Marks in connection with the publicity, promotion, sale, or

                      advertising of any goods or services;

                  g. using in connection with the sale of any services, a false description or

                      representation, including words or other symbols tending to falsely describe or

                      any moving company services affiliated with Guzi as being those of Plaintiff,

                      or in any way endorsed by Plaintiff; and

                  h. effecting assignments or transfers, forming new entities or associations or

                      utilizing any other device for the purpose of circumventing or otherwise

                      avoiding the prohibitions set forth in subparagraphs (a) through (g).

          8.      Defendant Guzi shall work cooperatively with Plaintiff, to the best of his ability,

   to correct the Residual Use of Plaintiff's Marks in the third-party websites [examples as shown in

   PX-24A-E, PX-122, PX-123] by requesting that the Residual Use be removed. Defendant Guzi

   shall work cooperatively with Plaintiff to execute any and all additional documents and

   authorizations and join phone calls arranged by Plaintiff that are required to permanently

   discontinue the Residual Use.

          9.      Plaintiff shall have the right to seek sanctions for contempt, compensatory

   damages, injunctive relief, attorneys’ fees, costs, and such other relief deemed proper in the

   event of a violation or failure by Defendant to comply with any of the provisions hereof. The

   prevailing party in any such proceeding shall be entitled to recover its attorneys’ fees and costs.

          10.     This Judgment shall accrue plus post judgment interest at the legal rate, for which

   let execution issue.

          11.     The Court retains jurisdiction to enforce the terms of the Judgment and Permanent




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   Injunction.

          12.     The Clerk is DIRECTED to CLOSE this case.

          13.     The Clerk is DIRECTED to MAIL a copy of this Order to Defendant Guzi at the

   address listed below.

          DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida on

   this 22nd day of December, 2021.




   Copies furnished:
   Counsel of record

   Ohad Guzi, pro se
   3740 N. 54th Avenue
   Hollywood, FL 33021




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